     Case 3:19-cv-00857-JM-WVG Document 13 Filed 10/18/19 PageID.99 Page 1 of 14


1
2
3
4
5
6                            UNITED STATES DISTRICT COURT
7                           SOUTHERN DISTRICT OF CALIFORNIA
8
9    JACKIE FISHER, on behalf of himself              Case No.: 19cv857 JM (WVG)
     and all others similarly situated,
10
     Plaintiff,                                       ORDER ON DEFENDANT’S
11                                                    MOTION TO DISMISS
     v.                                               PLAINTIFF’S COMPLAINT
12
     EDDIE BAUER LLC, a Delaware
13   Limited Liability Company, and DOES 1-
14   50, inclusive,
15   Defendants.

16
17         Defendant Eddie Bauer, LLC (“Eddie Bauer”) moves to dismiss the Complaint of
18   Plaintiff Jackie Fisher (“Fisher”) pursuant to Federal Rules of Civil Procedure 8, 9(b) and
19   12(b)(6). (Doc. No. 7.) The motion has been fully briefed and the court finds it suitable
20   for submission without oral argument in accordance with Civil Local Rule 7.1(d)(1). For
21   the reasons stated below, the motion is GRANTED IN PART and DENIED IN PART.
22         I.      BACKGROUND
23         Fisher states that on or about December 22, 2018, he visited the Eddie Bauer outlet
24   store in Alpine, California and examined a “Radiator Fleece ¼-zip and a Thermal ¼-zip”
25   (“the items”). (Compl. at 5.) He saw signage advertising the items as 50 percent off. (Id.)
26   The items’ price tags read $24.99 and $27.50, respectively. (Id.) He purchased the items
27   for a total of $56.56 “[b]ecause he liked the items and felt that the discounted price would
28   likely not last, and that he was getting a significant bargain on the merchandise.” (Id.) At
                                                  1
                                                                                 19cv857 JM (WVG)
     Case 3:19-cv-00857-JM-WVG Document 13 Filed 10/18/19 PageID.100 Page 2 of 14


1    the time of his purchase, he “believed that he was purchasing authentic Eddie Bauer
2    merchandise that was previously available at the Eddie Bauer retail store or other
3    department stores and that it had been sold at the reference prices.”1 (Id.)
4          With respect to Eddie Bauer’s conduct, Fisher alleges that Eddie Bauer engaged in
5    a “fraudulent price scheme” by putting false reference prices on the price tags of “almost
6    all” of the merchandise at its outlet “stores.” (Id. at 2-3, 7-9.) As an example, Fisher
7    attaches two photographs to his Complaint showing a small 50 percent off sign above a
8    rack of shirts, as well as a photograph of a $59.99 Eddie Bauer price tag for one of the
9    shirts.2 (Doc. No. 1-3.) Fisher further alleges that Eddie Bauer’s “direct to outlet”
10   merchandise is sold “exclusively” at its outlet stores and is “never” sold “anywhere” at the
11   reference prices on the price tags.3 (Compl. at 3, 5-7.) Fisher claims the two items he
12   purchased were “direct to outlet.” (Id. at 5.) In support of these allegations, Fisher states:
13         Plaintiff’s investigation of Eddie Bauer revealed that Eddie Bauer “direct to
           outlet” store merchandise is priced uniformly. That is, Eddie Bauer
14
15
     1
       Fisher refers to the prices on the items’ price tags as “reference prices.” As explained in
16   his Complaint, “reference prices” are non-discounted regular, original or former prices.
17   (Compl. at 2.) In his Complaint, however, Fisher mistakenly refers to the prices he paid
     for the items – $24.99 and $27.50 – as reference prices. (Id. at 5.) In his opposition to
18   Eddie Bauer’s motion, Fisher clarifies that the references prices on the price tags of the
19   items he purchased were actually $49.99 and $54.99 and that $24.99 and $27.50 were the
     prices he paid after applying the 50 percent discount. (Doc. No. 9 at 8 n.1.) Although the
20   Complaint contains no reference to the $49.99 and $54.99 reference prices, Fisher pleads
21   that he purchased the items for a total of $56.56 at a 50 percent discount. (Compl. at 5.)
     Therefore, despite Fisher’s error, the correct reference prices can be reasonably inferred
22   from the Complaint.
23
     2
       The sign and shirts in the photographs do not appear to be (and Fisher does not allege
24   they are) the signs Fisher saw or the items Fisher purchased.
25
     3
       Although Fisher states that his claims apply only to “direct to outlet” merchandise, he
26   also claims “[t]he fraudulent pricing scheme applies to all Eddie Bauer outlet store
27   merchandise offered on sale at the Eddie Bauer outlet store.” (Compl. at 7, 9.) He
     acknowledges, however, that Eddie Bauer outlet stores sell “some merchandise that was
28   originally offered for sale in its full line stores.” (Id. at 3 n.2.)
                                                   2
                                                                                    19cv857 JM (WVG)
     Case 3:19-cv-00857-JM-WVG Document 13 Filed 10/18/19 PageID.101 Page 3 of 14


1           merchandise sold at Eddie Bauer’s outlet stores bears a price tag with a false
            reference price and a substantially discounted “__% Off” sale price.
2
            Plaintiff’s counsel’s investigation confirmed that the merchandise purchased
3           by Mr. Fisher was priced with a false reference price and a corresponding
            discounted price for at least the 90-day period immediately preceding
4
            Plaintiff’s purchase.
5
6           Plaintiff’s investigation cataloged the pricing practices of Eddie Bauer’s outlet
            store located at the Viejas Outlet Center, 5001 Willows Road, Space J101,
7           Alpine, CA 91901 (“Alpine”), for several months before and after Mr.
8           Fisher’s purchase. The false reference price and corresponding discount price
            scheme was both uniform and identical on almost all of the merchandise sold
9           at Eddie Bauer’s outlet stores. The only thing that changed was the requisite
10          % Off on certain merchandise items.

11          The fraudulent pricing scheme applies to all Eddie Bauer outlet store
12          merchandise offered on sale at the Eddie Bauer outlet store, including the
            Radiator Fleece and Thermal purchased by Plaintiff.
13
14   (Id. at 8-9.)
15          Fisher now brings a putative class action under the Class Action Fairness Act of
16   2005, 28 U.S.C. § 1332(d). (Id. at 4.) He seeks to represent a statewide class consisting
17   of “[a]ll persons, within the State of California, from May 7, 2015 through the present . . . .
18   who purchased from Eddie Bauer outlet stores one or more ‘direct to outlet’ products at
19   discounts from the advertised ‘reference’ price and who have not received a refund or credit
20   for their purchase(s).” (Id. at 10.) Fisher asserts claims under California’s false advertising
21   law (“the FAL”), CAL. BUS. & PROF. CODE §§ 17500-501, unfair competition law (“the
22   UCL”), id. § 17200, and Consumers Legal Remedies Act (“the CLRA”), CAL. CIV. CODE.
23   §§ 1750-1785. The FAL provides that “[n]o prices shall be advertised as a former price of
24   any advertised thing, unless the alleged former price was the prevailing market price . . . .
25   within three months next immediately preceding the publication of the advertisement[.]”
26   CAL. BUS. & PROF. CODE § 17501. The UCL prohibits “any unlawful, unfair or fraudulent
27   business act or practice and unfair, deceptive, untrue or misleading advertising.”
28   Id. § 17200. The CLRA prohibits “unfair methods of competition and unfair or deceptive
                                                   3
                                                                                    19cv857 JM (WVG)
     Case 3:19-cv-00857-JM-WVG Document 13 Filed 10/18/19 PageID.102 Page 4 of 14


1    acts or practices.” CAL. CIV. CODE. § 1770. The CLRA also specifically prohibits “[m]aking
2    false or misleading statements of fact concerning reasons for, existence of, or amounts of
3    price reductions.” Id. § 1770(a)(9), (13).
4          On July 1, 2019, Eddie Bauer moved to dismiss the Complaint. (Doc. No. 7.) Fisher
5    filed an opposition to the motion on July 29, 2019, (Doc. No. 9), and Eddie Bauer filed its
6    reply on August 5, 2019, (Doc. No. 10).
7          II.    LEGAL STANDARD
8          A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) challenges the
9    legal sufficiency of the pleadings. Courts should grant 12(b)(6) relief only where a
10   plaintiff’s complaint lacks a “cognizable legal theory” or sufficient facts to support a
11   cognizable legal theory. Balistreri v. Pacifica Police Dept., 901 F.2d 696, 699 (9th Cir.
12   1990). To satisfy Rule 12(b)(6), the complaint must contain “enough facts to state a claim
13   to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570
14   (2007). “A claim has facial plausibility when the plaintiff pleads factual content that
15   allows the court to draw the reasonable inference that the defendant is liable for the
16   misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Facts merely consistent
17   with a defendant’s liability are insufficient to survive a motion to dismiss because they
18   establish only that the allegations are possible rather than plausible. Id. at 678-79. The
19   court must accept as true the facts alleged in a well-pled complaint, but mere legal
20   conclusions are not entitled to an assumption of truth. Id. The court must construe the
21   pleading in the light most favorable to the non-moving party. Concha v. London, 62 F.3d
22   1493, 1500 (9th Cir. 1995). “[C]onclusory allegations of law and unwarranted inferences
23   are insufficient to defeat a motion to dismiss.” Adams v. Johnson, 355 F.3d 1179, 1183
24   (9th Cir. 2004). The court must be able to “draw the reasonable inference that the defendant
25   is liable for the misconduct alleged.” Iqbal, 556 U.S. at 663. “Determining whether a
26   complaint states a plausible claim for relief [is] a context-specific task that requires the
27   reviewing court to draw on its judicial experience and common sense.” Id. at 679.
28         Rule 8(a)(2) requires claims for relief to contain “a short and plain statement of the
                                                  4
                                                                                 19cv857 JM (WVG)
     Case 3:19-cv-00857-JM-WVG Document 13 Filed 10/18/19 PageID.103 Page 5 of 14


1    claim showing that the pleader is entitled to relief.” Even under the liberal pleading
2    standard of Rule 8(a)(2), a “pleading that offers ‘labels and conclusions’ or ‘a formulaic
3    recitation of the elements of a cause of action will not do.’” Iqbal, 556 U.S. at 678 (quoting
4    Twombly, 550 U.S. at 555). Rule 8(e) also requires courts to construe pleadings “so as to
5    do justice.”
6          If a plaintiff alleges fraud, Rule 9(b) requires the complaint to “state with
7    particularity the circumstances constituting fraud.” To plead fraud with particularity, “a
8    pleading must identify the who, what, when, where, and how of the misconduct charged,
9    as well as what is false or misleading about the purportedly fraudulent statement, and why
10   it is false.” Cafasso, U.S. ex rel. v. Gen. Dynamics C4 Sys., Inc., 637 F.3d 1047, 1055 (9th
11   Cir. 2011) (internal quotation marks and alterations omitted); Vess v. Ciba-Geigy Corp.
12   USA, 317 F.3d 1097, 1106 (9th Cir. 2003). “Rule 9(b) serves not only to give notice to
13   defendants of the specific fraudulent conduct against which they must defend, but also ‘to
14   deter the filing of complaints as a pretext for the discovery of unknown wrongs[.]’” Bly-
15   Magee v. California, 236 F.3d 1014, 1018 (9th Cir. 2001) (quoting In re Stac Elec. Sec.
16   Litig., 89 F.3d 1399, 1405 (9th Cir. 1996)). The Ninth Circuit has held that the heightened
17   pleading requirement of Rule 9(b) applies to claims brought under the FAL, UCL, or
18   CLRA that are “grounded in fraud.” Davidson v. Kimberly-Clark Corp., 889 F.3d 956,
19   964 (9th Cir. 2018), cert. denied, 139 S. Ct. 640 (2018); Kearns v. Ford Motor Co., 567
20   F.3d 1120, 1125 (9th Cir. 2009).
21         Rule 9(b) may be “relaxed,” however, “as to matters within the opposing party’s
22   knowledge.” Moore v. Kayport Package Express, Inc., 885 F.2d 531, 540 (9th Cir. 1989)
23   A pleading is sufficient under Rule 9(b) “if it identifies the circumstances constituting fraud
24   so that a defendant can prepare an adequate answer from the allegations.” Id. Rule 9(b)
25   requires only that “plaintiffs specifically plead those facts surrounding alleged acts of fraud
26   to which they can reasonably be expected to have access.” Concha, 62 F.3d at 1503 (“[I]n
27   cases where fraud is alleged, we relax pleading requirements where the relevant facts are
28   known only to the defendant.”).
                                                   5
                                                                                    19cv857 JM (WVG)
     Case 3:19-cv-00857-JM-WVG Document 13 Filed 10/18/19 PageID.104 Page 6 of 14


1          III.   DISCUSSION
2          Eddie Bauer moves to dismiss Fisher’s Complaint on the ground that Fisher fails to
3    satisfy Rule 9(b) because he does not plead facts demonstrating that Eddie Bauer’s pricing
4    is deceptive.4 (Doc. No. 7-1 at 7, 10-11.) Rule 9(b) applies here because Fisher specifically
5    and repeatedly alleges that Eddie Bauer engaged in a fraudulent pricing scheme in violation
6    of the FAL, UCL and CLRA. (Compl. at 2, 6, 9, 12, 13-16); Davidson, 889 F.3d at 964;
7    see also Chase v. Hobby Lobby Stores, Inc., Case No. 17cv881 GPC (BLM), 2017 WL
8    4358146, at *7 (S.D. Cal. Oct. 2, 2017) (“The heightened pleading standard applies to
9    claims under the CLRA, UCL, and FAL.”) Fisher also concedes that the heightened
10   pleading standard applies. (Doc. No. 9 at 10.)
11         Eddie Bauer argues that Fisher has not satisfied Rule 9(b) because he: (1) “has not
12   plead a single fact to support his claim that Eddie Bauer’s outlet pricing is deceptive;”
13   (2) “relies on conclusory allegations based on an undisclosed investigation by Plaintiff’s
14   counsel;” (3) “has attempted to state a claim by pointing at a price tag and declaring it false,
15   without any factual support;” and (4) “does not offer any details as to what [his]
16   investigation entailed.” (Doc. No. 7-1 at 7, 9.) Eddie Bauer also argues that if Fisher “were
17   correct that he can state a claim this way, then retailers could never offer sales without the
18   risk of a lawsuit.” (Doc. No. 10 at 5.)
19         In opposition, Fisher maintains that he satisfied Rule 9(b) by pleading that his
20   investigation “revealed that Defendant’s ‘direct to outlet’ merchandise was perpetually
21   offered at a substantially discounted price, and well over 90 days at a time.” (Doc. No. 9
22   at 16.) Fisher argues that he “alleged precisely how Defendant’s ‘reference’ prices are
23   deceptive and false – because they were not in fact Defendant’s price, nor were they the
24
25
     4
      Eddie Bauer’s motion to dismiss relies on Rule 9(b) and makes only passing reference to
26   Rules 8 and 12(b)(6). (See Doc. No. 7-1.) The court’s decision here also relies on Rule
27   9(b). Accordingly, the court’s analysis focuses on Rule 9(b) rather than Rules 8 and
     12(b)(6).
28
                                                    6
                                                                                     19cv857 JM (WVG)
     Case 3:19-cv-00857-JM-WVG Document 13 Filed 10/18/19 PageID.105 Page 7 of 14


1    prevailing market prices or the ‘market’ price within the ninety (90) days preceding
2    Plaintiff’s purchase.” (Id. at 7.) Fisher further states, “[i]f Defendant would like to
3    challenge Plaintiff’s counsel’s investigation (or, more importantly, the results of that
4    investigation), it is free to do so at a later stage.” (Id. at 8.)
5           The Ninth Circuit has yet to decisively address the level of factual detail required
6    under Rule 9(b) to sufficiently plead similar claims brought under the FAL, UCL and
7    CLRA. In Rubenstein v. Neiman Marcus Grp. LLC, 687 F. App’x 564, 567 (9th Cir. 2017),
8    the court found it sufficient to plead that two items of clothing the plaintiff purchased at an
9    outlet store were not being sold “in the area” by either the defendant or other merchants for
10   the higher “compared to” price listed on the price tags. The complaint also alleged that the
11   defendant was not “reasonably certain” that the items were being sold in the area at the
12   time. Id. The court applied a “relaxed” Rule 9(b) standard, noting that the plaintiff could
13   not reasonably be expected to have detailed personal knowledge of the defendant’s internal
14   pricing policies for its outlet stores. 687 F. App’x at 568; see also Nunez v. Saks Inc., 771
15   F. App’x 401, 403 (9th Cir. 2019) (denying motion to dismiss on similar grounds).
16          In contrast, in Sperling v. DSWC, Inc., 699 F. App’x 654 (9th Cir. 2017), the court
17   found it insufficient to plead that two pairs of shoes purchased at an outlet store were never
18   sold at the higher “compare at” prices listed on the price tags. 699 F. App’x at 655. The
19   store’s website disclaimed that the “compare at” prices were the manufacturers’ suggested
20   retail prices (MSRPs). Sperling v. DSW, Inc., Case No. 15cv1366 JGB (SPX), 2016 WL
21   354319, at *2 (C.D. Cal. Jan. 28, 2016) (lower court decision). The complaint also stated
22   that an “independent investigation” by the plaintiff “revealed” that the prevailing market
23   price for the shoes was less than the listed “compare at” price and the investigation was
24   “unable to find any retail outlet selling identical shoes” at the “compare at” price. 2016
25   WL 354319, at *3. The Ninth Circuit found these facts insufficient because (1) MSRPs on
26   price tags are not “inherently false or deceptive” and (2) the plaintiff did not state when she
27   conducted her search for the products. 699 F. App’x at 655.
28
                                                      7
                                                                                    19cv857 JM (WVG)
     Case 3:19-cv-00857-JM-WVG Document 13 Filed 10/18/19 PageID.106 Page 8 of 14


1          Since Rubenstein and Sperling, district courts have reached different conclusions on
2    the level of factual detail required in cases alleging that products were never sold at the
3    reference prices advertised on their price tags. Some claims have survived motions to
4    dismiss.5 Others have not.6
5                 A.     “Almost All” Merchandise at Eddie Bauer Outlet Stores
6          The gravamen of Fisher’s Complaint is that Eddie Bauer engaged in a “fraudulent
7    pricing scheme” in which Eddie Bauer put false reference prices on the price tags of
8    “almost all” of the merchandise at its outlet “stores,” (Compl. at 2-3, 7-9), and in which
9    Eddie Bauer’s “direct to outlet” merchandise is sold “exclusively” at its outlet stores and
10   is “never” sold “anywhere” at the reference prices on the price tags, (id. at 3, 5-7). These
11
12
     5
13    See Safransky v. Fossil Grp., Inc., Case No. 17cv1865 MMA (NLS), 2018 WL
     1726620, at *10-13 (S.D. Cal. Apr. 9, 2018); John v. AM Retail Grp., Inc., Case No.
14
     17cv727 JAH (BGS), 2018 WL 1400718, at *7 (S.D. Cal. Mar. 20, 2018) (finding the
15   “who, what, when, where, and how” standard of Rule 9(b) is satisfied by pleading: (1) the
     date of purchase; (2) the store; (3) a description of the product purchased; (4) a
16
     description of the advertising; and (5) pictures depicting the products and
17   advertisements); Chase v. Hobby Lobby Stores, Inc., Case No. 17cv881 (GPC) BLM,
     2018 WL 786743, at *4-5 (S.D. Cal. Feb. 8, 2018) (finding it plausible that a reasonable
18
     consumer could have been misled because the consumer would not notice a disclaimer
19   noting that the product always remained discounted); Covell v. Nine W. Holdings, Inc.,
     Case No. 17cv0137 H (JLB), 2018 WL 558976, at *4 (S.D. Cal. Jan. 25, 2018) (applying
20
     a relaxed Rule 9(b) standard).
21
     6
      See Park v. Cole Haan, LLC, Case No. 17cv1422 LAB (BGS), 2019 WL 1200337, at
22   *4-5 (S.D. Cal. Mar. 13, 2019) (“Park II”) (granting motion to dismiss all claims except
23   those based on the pair of shoes the plaintiff purchased); Seegert v. Luxottica Retail N.
     Am., Inc., Case No. 17cv1372 JM (BLM), 2018 WL 3472561, at *3-4 (S.D. Cal. July 19,
24   2018) (“Seegert II”); Park v. Cole Haan, LLC, Case No. 17cv1422 LAB (BGS), 2018
25   WL 3438693, at *4-5 (S.D. Cal. July 17, 2018) (“Park I”) (granting a motion to dismiss
     under Rule 12(b)(6) because, inter alia, the plaintiff provided “no facts suggesting what
26   representations, if any, Defendants are making to customers about products sold in the
27   outlet, nor how many products sold in the outlet fall in this category”); Seegert v.
     Luxottica Retail N. Am., Inc., Case No. 17cv1372 JM (BLM), 2018 WL 1214888, at *3
28   (S.D. Cal. Feb. 23, 2018) (“Seegert I”).
                                                  8
                                                                                 19cv857 JM (WVG)
     Case 3:19-cv-00857-JM-WVG Document 13 Filed 10/18/19 PageID.107 Page 9 of 14


1    assertions are conclusory allegations, not facts. See Seegert II, 2018 WL 3472561, at *3-
2    4; but cf. Covell, 2018 WL 558976, at *4 (finding that plaintiff’s assertion that the
3    merchandise was never sold anywhere at the suggested retail price was a “specific fact”
4    that the court was required to accept as true). The only facts Fisher pleads to support his
5    allegations of a fraudulent pricing scheme consist entirely of the following: an investigation
6    conducted by Fisher’s counsel “cataloged pricing practices” at the Eddie Bauer outlet store
7    in Alpine, California for several months before and after Fisher’s purchase on or about
8    December 22, 2018, and the only thing that changed was the percentage discount on
9    “certain merchandise.” (Compl. at 8-9.) The only products that Fisher specifies were
10   included in the investigation are the two items he purchased. He claims the investigation
11   confirmed “the merchandise purchased by Mr. Fisher was priced with a false reference
12   price and a corresponding discounted price for at least the 90-day period immediately
13   preceding [Fisher’s] purchase.” (Id.)
14         The fact that two products remained on sale for at least 90 days does not provide
15   sufficient support for his allegation of a fraudulent pricing scheme involving almost all of
16   the merchandise at Eddie Bauer outlet stores. Except for the single store from which he
17   purchased the items, Fisher does not identify any of the Eddie Bauer “stores” allegedly
18   participating in the scheme. Nor does Fisher allege that he searched Eddie Bauer’s website,
19   other Eddie Bauer stores, Eddie Bauer paper catalogues, or any department store selling
20   Eddie Bauer products. (See id. at 5 (claiming he believed he was purchasing merchandise
21   that was previously available at a retail store or other department store).) Fisher does not
22   even allege that he searched online or that he inquired directly with Eddie Bauer. See Park
23   II, 2019 WL 1200337, at *4 (noting the plaintiff’s failure to either inquire with store
24   employees or allege they did not or would not answer truthfully); First Amended Complaint
25   at 7, Park v. Cole Haan, LLC, Case No. 17cv1422 LAB (BGS) (S.D. Cal. Aug. 13, 2018),
26   Doc. No. 17 (noting that the plaintiff conducted an internet search).
27         As this court previously stated in a similar case, it is “virtually inconceivable” that
28   Fisher would not have made “[s]uch a straight-forward effort [that] would not have
                                                   9
                                                                                   19cv857 JM (WVG)
     Case 3:19-cv-00857-JM-WVG Document 13 Filed 10/18/19 PageID.108 Page 10 of 14


1     required the commencement of formal discovery . . . . and would provide particular facts
2     to support or negate Plaintiff’s central claim that [the defendant] never sells [the
3     purportedly discounted product] at the original price.” Seegert II, 2018 WL 3472561, at
4     *4. As this court also previously stated, Rule 9(b) “requires a plaintiff to conduct a pre-
5     complaint investigation ‘in sufficient depth to assure that the charge of fraud is responsible
6     and supported.’” Id. at *3 (quoting Ackerman v. Nw. Mut. Life Ins. Co., 172 F.3d 467, 469
7     (7th Cir. 1999); see also Jacobo v. Ross Stores, Inc., Case No. 15cv4701 MWF (AGR),
8     2016 WL 3482041, at *3 (C.D. Cal. Feb. 23, 2016) (“Plaintiffs must conduct a reasonable
9     investigation into their claims and plead at least some facts to bolster their ‘belief’ that the
10    ‘Compare At’ prices were inaccurate.”); but cf. Safransky, 2018 WL 1726620, at *12
11    (noting that the plaintiff was not required to conduct a pre-suit investigation or include the
12    result of an investigation “in every case”).7
13          Fisher’s investigation falls short of a straight-forward and responsible effort to
14    support his broad claim of a fraudulent pricing scheme. In Pickles v. Kate Spade & Co.,
15    for example, the plaintiff conducted an investigation including “internet comparative and
16    archival research, Kate Spade corporate documents, and interviews with current and former
17
18
      7
19      This court has also previously found it insufficient for the plaintiff to allege that an
      “extensive” investigation was conducted without identifying any of the products or stores
20    investigated. Rael v. Dooney & Bourke, Inc., Case No. 16cv371 JM (DHB), 2016 WL
21    3952219, at *3-5 (S.D. Cal. July 22, 2016). Two of the cases cited by this court in that
      decision, however, have been reversed. See Davidson, 76 F. Supp. 3d 964, 974 (N.D.
22    Cal. 2014) (“It is not enough for [plaintiff] to simply claim that [an advertisement] is
23    false – she must allege facts showing why it is false.”), rev’d, 889 F.3d 956, 965 (9th Cir.
      2018) (finding “the why” under Rule 9(b) was satisfied by pleading that products
24    advertised as “flushable” did not “disperse and disintegrate within seconds or minutes”);
25    Rubenstein, Case No. 14cv7155 SJO (JPRx), 2015 WL 1841254 (C.D. Cal. Mar. 2,
      2015), rev’d, 687 F. App’x 564 (9th Cir. 2017). While these cases are now more
26    favorable to Fisher’s position, they are not so favorable as to persuade this court that the
27    minimal facts pled by Fisher are sufficient to support his broader allegation of a
      fraudulent pricing scheme.
28
                                                      10
                                                                                      19cv857 JM (WVG)
     Case 3:19-cv-00857-JM-WVG Document 13 Filed 10/18/19 PageID.109 Page 11 of 14


1     Kate Spade employees.” Case No. 15cv5329 VC, 2016 WL 3999531, at *1 (N.D. Cal. July
2     26, 2016). The plaintiff also alleged that Kate Spade “direct to outlet” merchandise could
3     be identified by a unique product code number and attached examples to the complaint.
4     (Id.) Here, in addition to failing to search anywhere except a single store, Fisher does not
5     explain how he knew the items he purchased were “direct to outlet” or how Eddie Bauer
6     “direct to outlet” items can be identified. See also Safransky, 2018 WL 1726620, at *2
7     (noting that the allegedly “direct to outlet” products were subtly marked as “like style”).
8           Additionally, in Dennis v. Ralph Lauren Corp., the court initially found it
9     insufficient to plead that the plaintiff’s counsel investigated “various retail stores” and
10    “various consumer goods” because the only store specifically identified was the outlet store
11    from which the plaintiff made a purchase. 2016 WL 7387356, at *4 (S.D. Cal. Dec. 20,
12    2016). The court subsequently found an amended complaint sufficient because it specified
13    that the investigation included all four stores in San Diego County, as well as two other
14    stores, that sold the defendant’s products. 2017 WL 3732103, at *2 (S.D. Cal. Aug. 29,
15    2017).8 The court in Dennis also noted that the complaint included “a chart detailing the
16    particular items that were included in the investigation, the particular stores where those
17    items were offered for sale, the advertised ‘Our Price’ price for each item, the advertised
18    discount for each item, and the dates on which the prices were recorded and verified.” Id.
19    at *4. Fisher does not plead an equivalent level of factual detail here.
20          Overall, the particular facts pled by Fisher regarding two products purchased at a
21    single store are insufficient to support his broader allegation of a fraudulent pricing scheme
22    involving almost all merchandise at Eddie Bauer outlet stores. Indeed, none of the cases
23    decided since Rubenstein and Sperling included an acknowledgment, as Fisher provides
24    here, that the plaintiff’s pre-complaint investigation included only two products at one
25
26    8
       This second order in Dennis was issued after Rubenstein, but before Sperling. See
27    Rubenstein, 687 F. App’x 564 (filed April 18, 2017); Sperling, 2016 WL 354319 (filed
      October 19, 2017).
28
                                                   11
                                                                                    19cv857 JM (WVG)
     Case 3:19-cv-00857-JM-WVG Document 13 Filed 10/18/19 PageID.110 Page 12 of 14


1     store.9 While Fisher may be entitled to a relaxation of the heightened standard for pleading
2     fraud under Rule 9(b) because he cannot reasonably be expected to have access to the full
3     extent of Eddie Bauer’s outlet store pricing practices, see Rubenstein, 687 F. App’x 567-
4     68 (citing Moore, 885 F.2d at 540), the standard is still a heightened one. See Seegert II,
5     2018 WL 3472561, at *4 (rejecting that Rubenstein and Moore provide compelling support
6     for discovery); see also Jacobo, 2016 WL 3482041, at *4-5 (rejecting allegations based
7     “on information and belief” when the supporting facts were easily available to the plaintiff,
8     such as the availability of the products in other stores). To allow such narrow facts to
9     support such a broad allegation would require the relaxation of Rule 9(b) to the point of its
10    incapacitation.
11                 B.    The Items Fisher Purchased
12          Although the facts pled by Fisher are insufficient to support his broader allegation
13    of a fraudulent pricing scheme involving unspecified products and stores, they are
14    sufficient to support a claim with respect to the specific two items he purchased. As noted
15    above, Fisher offers some minimal specificity in that his counsel “cataloged” prices at a
16
17
18    9
        See Third Amended Class Action Complaint at 10-14, Nunez v. Saks Inc., Case No.
19    15cv2717 JAH (WVG) (S.D. Cal. June 15, 2017), Doc. No. 36-2 (specifying two stores
      and 22 products); First Amended Complaint at 7, Park v. Cole Hann, LLC, Case No.
20    17cv1422 LAB (BGS) (S.D. Cal. Aug. 13, 2018), Doc. No. 17 (noting that the plaintiff
21    searched online); First Amended Class Action Complaint at 10, 14-15, Safransky v.
      Fossil Grp., Inc., Case No. 17cv1865 MMA (NLS), 2018 WL 1726620 (S.D. Cal. Oct.
22    23, 2018), Doc. No. 8 (not specifying the stores or products included in the
23    investigation); First Amended Class Action Complaint at 9-10, John v. AM Retail Grp.,
      Inc., Case No. 17cv727 JAH (BGS), 2018 WL 1400718 (S.D. Cal. June 15, 2017), Doc.
24    No. 7 (specifying four stores and 14 products); First Amended Class Action Complaint at
25    10-13, Chase v. Hobby Lobby Stores, Inc., Case No. 17cv881 GPC (BLM), 2018 WL
      786743 (S.D. Cal. Nov. 1, 2017), Doc. No. 16 (specifying three stores and 12 products);
26    First Amended Class Action Complaint at 10-12, Covell v. Nine W. Holdings, Inc., Case
27    No. 17cv1371 H (JLB), 2018 WL 558976 (S.D. Cal. Oct. 31, 2017), Doc. No. 10
      (specifying two stores and 11 products).
28
                                                   12
                                                                                   19cv857 JM (WVG)
     Case 3:19-cv-00857-JM-WVG Document 13 Filed 10/18/19 PageID.111 Page 13 of 14


1     particular outlet store for several months before and after10 the date he purchased the items
2     and he confirmed the items’ prices remained advertised as discounted for at least 90 days
3     immediately preceding the purchase on December 22, 2018. (Compl. at 8-9.) While Fisher
4     provides no particularity as to what “cataloging” prices entailed, when viewed in the light
5     most favorable to Fisher, the cataloguing of prices in this context presumably entails
6     visiting the store on a reasonably regular basis and personally observing and recording the
7     prices of the two items. The fact that the items remained on sale for a substantial period of
8     time sufficiently supports, albeit ever so slightly, the plausibility and particularity of his
9     claim that the two items were never sold at the reference price, and therefore the publication
10    of the reference price on the price tags was deceptive.11 Park II, 2019 WL 1200337, at *2
11    (noting that labeling products as discounted when they have never actually been sold at the
12    higher price can violate the FAL, UCL and CLRA) (citations omitted). While it might be
13    reasonable for retail stores to genuinely discount products for several months at a time, the
14    questions of whether the items were genuinely discounted, or whether advertising them as
15    discounted for so long violates the FAL, UCL or CLRA, are questions best left to a trier of
16    fact. See Williams v. Gerber Prod. Co., 552 F.3d 934, 938 (9th Cir. 2008) (“California
17    courts . . . . have recognized that whether a business practice is deceptive will usually be a
18    question of fact not appropriate for decision on demurrer.”). In the meantime, Eddie Bauer
19    has adequate notice of an allegation against which it must defend, i.e. that it never sold the
20    “Radiator Fleece ¼-zip” or “Thermal ¼-zip” for $49.99 and $54.99, respectively, and that
21    advertising these two items as discounted for a period of at least 90 days violates the FAL,
22
23
      10
        Fisher does not specify whether he cataloged the prices for several months both before
24    and after he made the purchase.
25
      11
        Eddie Bauer does not argue that its outlet stores in California operated independently in
26    pricing and advertising their products. The fact that the items remained on sale for so
27    long at one store adds to the plausibility, perhaps minimally so, that they were similarly
      priced at other outlet stores.
28
                                                   13
                                                                                    19cv857 JM (WVG)
     Case 3:19-cv-00857-JM-WVG Document 13 Filed 10/18/19 PageID.112 Page 14 of 14


1     UCL and CLRA. Based on the foregoing, Fisher pleads sufficient facts on behalf of
2     himself and all others who purchased the same items, advertised in the same manner, from
3     a California Eddie Bauer outlet store during the several months before and after Mr.
4     Fisher’s purchase on or about December 22, 201812 and who have not received a refund or
5     credit for their purchase.
6           IV.    CONCLUSION
7           For the foregoing reasons, Eddie Bauer’s Motion to Dismiss Plaintiff’s Complaint
8     is GRANTED IN PART and DENIED IN PART. With respect to Fisher’s claim of a
9     fraudulent pricing scheme involving almost all merchandise at Eddie Bauer outlet stores,
10    the motion is GRANTED. With respect to the two items Fisher purchased, the motion is
11    DENIED. Consistent with Rule 15 and this court’s previous decisions in similar cases, the
12    court grants Fisher leave to file an amended complaint within 20 days from the date of
13    entry of this order.
14          IT IS SO ORDERED.
15    DATED: October 18, 2019
                                                   JEFFREY T. MILLER
16
                                                   United States District Judge
17
18
19
20
21
22
23
24
25
26
27
      12
        Fisher references May 7, 2015 to the present as the class period, (Compl. at 10), but
28    does not explain why that date represents the beginning of the class period.
                                                  14
                                                                                  19cv857 JM (WVG)
